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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-00400 (AHA)
          v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                  Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-00402 (AHA)
          v.

  DONALD J. TRUMP, et al.,

                  Defendants.



                        NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants respectfully provide notice of Saturday’s Order of the Court of Appeals in

Widakuswara v. Lake, No. 25-5144 (D.C. Cir. May 3, 2025) (Doc. 2114139) (attached as the

Exhibit). For the reasons stated in the per curiam concurring statement attached to that Order, the

Court of Appeals granted the Government’s motion for stay pending appeal from preliminary

injunctions in several cases, including in Widakuswara v. Lake, No. 25-cv-1015, 2025 WL

1166400 (D.D.C. Apr. 22, 2025). Here, in opposing Defendants’ motion for an indicative ruling

as to the past-payments provision of the preliminary injunction, Plaintiffs cited that District Court

decision. AVAC Opp. 5-6 (Doc. 83); GHC Opp. 7 (Doc. 77). The Order further supports
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Defendants’ contention that the past-payments provision is predicated on contractual claims for

monetary payment over which this Court lacks subject-matter jurisdiction.

       The Widakuswara plaintiffs challenged decisions of the United States Agency for Global

Media (USAGM) terminating grant agreements for the 2025 fiscal year awarded to two private,

non-profit corporations, where Congress “allocated specific funding” for those networks, “which

USAGM disburses through grants.” Widakuswara, slip op. at 1. The District Court’s preliminary

injunction, in pertinent part, “requir[ed] USAGM to (1) restore . . . contractors to their pre-March

14 status,” and “(2) restore its FY 2025 grants with” the two networks.

       The Court of Appeals granted a stay by a divided vote, concluding that the Government “is

likely to succeed on the merits because the district court likely lacked subject-matter jurisdiction

. . . to compel the agency to restore RFA’s and MBN’s FY 2025 grants.” Id. at 2. In reaching that

conclusion, the Court of Appeals applied Department of Education v. California, 145 S. Ct. 966

(2025) (per curiam). Id. at 5-6.

       The Court of Appeals reasoned that in the “grants at issue, USAGM . . . promised to pay

the appropriated funds to the networks in monthly installments. In return, the networks promised

to use the funds to advance statutory objectives and to comply with all program requirements.” Id.

at 6. Such “exchanges of promises—reflecting offer, acceptance, consideration, mutuality of

intent, and action by an official with authority to bind the government—constitute government

contracts for Tucker Act purposes.” Id. (citing Columbus Reg’l Hosp. v. United States, 990 F.3d

1330, 1338-39 (Fed. Cir. 2021)). Hence, “the injunction” at issue “in substance orders specific

performance of the grant agreements—a quintessentially contractual remedy.” Id. And “the

claims of government nonpayment necessarily challenge its performance under the grants. Such

claims are squarely contract claims under the Tucker Act.” Id. at 8.
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       The Court of Appeals also rejected the Widakuswara plaintiffs’ contention that their “non-

APA claims regarding grant money”—i.e., multiple constitutional claims and an ultra vires claim

(slip op. at 8-9)—undercut the conclusion that the District Court lacked subject-matter jurisdiction

in light of the Tucker Act. Under Dalton v. Specter, 511 U.S. 462, 472-74 (1994), those

“constitutional claims simply flow from allegations that the Executive Branch has failed to abide

by governing congressional statutes,” and inclusion of such claims “does not suffice to trigger the

distinctively strong presumptions favoring judicial review of constitutional claims.” Id. at 9. The

Court of Appeals also cited Ingersoll-Rand Co. v. United States, 780 F.2d 74, 79-80 (D.C. Cir.

1985), for the lesson that the “Tucker Act governs challenge[s] to contract termination, ‘despite

plaintiff’s allegations of statutory and constitutional violations.’” Id.

       Plaintiffs here have made arguments similar to those rejected in Widakuswara, and the

Order in that appeal accordingly reinforces Defendants’ contention concerning lack of subject-

matter jurisdiction.
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Dated: May 4, 2025                   Respectfully submitted,
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